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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5158                                                 September Term, 2024
                                                                         1:25-cv-00799-RCL
                                                        Filed On: May 7, 2025
RFE/RL, Inc.,

              Appellee

       v.

Kari Lake, in her official capacity as Senior
Advisor to the Acting CEO of the United
States Agency for Global Media, et al.,

              Appellants


       BEFORE:       Pillard*, Katsas, and Rao, Circuit Judges

                                         ORDER

      Upon consideration of the motion for stay pending appeal, the response thereto,
and the reply; the motion for expedited consideration; and the administrative stay
entered on May 1, 2025, it is

      ORDERED that the motion for stay pending appeal be granted. A per curiam
concurring statement and a dissenting statement of Judge Pillard are attached. It is

       FURTHER ORDERED that the administrative stay entered in the above-
captioned case be dissolved.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk


*Judge Pillard dissents from the grant of the motion for stay.
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             PER CURIAM: For the following reasons, we grant the
         government’s motion for a stay pending appeal.
                                        I
             The United States Agency for Global Media oversees six
         federally funded broadcast networks. Among these is plaintiff-
         appellee Radio Free Europe/Radio Liberty, which operates as
         a private, non-profit corporation. Through appropriations,
         Congress has allocated specific funding for RFE/RL, which
         USAGM disburses through grants. E.g., Further Consolidated
         Appropriations Act of 2024, Pub. L. No. 118-47, div. F, tit. I,
         138 Stat. 460, 735; Explanatory Statement Submitted by Ms.
         Granger, Chair of the House Committee on Appropriations,
         Regarding H.R. 2882, Further Consolidated Appropriations
         Act, 2024, 170 Cong. Rec. H1501, H2089 (Mar. 22, 2024).
         USAGM entered grant agreements providing funding to
         RFE/RL through the end of February 2025. That month, the
         agency also began negotiating a grant agreement with RFE/RL
         for Fiscal Year 2025. RFE/RL signed the agreement on
         February 27, but USAGM never returned a countersigned
         copy.
              On March 14, 2025, the President issued Executive Order
         14238, which directed USAGM leadership to reduce the
         agency to the minimum level of operations required by statute.
         90 Fed. Reg. 13043. The next day, USAGM purported to
         terminate RFE/RL’s grant agreements. Shortly thereafter,
         RFE/RL filed a complaint and moved for a temporary
         restraining order compelling USAGM to disburse $7.5 million
         to RFE/RL, which the network described as covering its grant
         entitlements for March 1–15. The network also sought a
         preliminary injunction “ordering USAGM to effectuate further
         grant agreements with RFE/RL to disburse the funds that
         Congress had appropriated through September 30, 2025.”
         RFE/RL, Inc. v. Lake, No. 25-CV-799, 2025 WL 1232863, at
         *2 (D.D.C. Apr. 29, 2025). In response, USAGM disbursed
         the requested funds and later entered a grant agreement
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                                          2
         providing funding for March 15–31 on the same terms as
         RFE/RL’s grant agreement for Fiscal Year 2024.
              On April 9, 2025, USAGM proposed a new “Master Grant
         Agreement” for Fiscal Year 2025, which differed significantly
         from prior agreements. Rather than sign, RFE/RL moved for a
         TRO “seeking immediate disbursement of congressionally
         appropriated funds for the period from April 1 to April 30,
         2025, totaling $12,178,590.” RFE/RL, 2025 WL 1232863, at
         *3. The district court stayed its hand for a time while
         negotiations continued. But on April 29, the court ordered
         USAGM to: (1) “immediately enter into a grant agreement
         with [RFE/RL] covering April 2025 under the same terms and
         conditions applicable to the most recent master grant
         agreement between the parties, in materially identical terms to
         the agreement between the parties pertaining to March 2025”;
         and (2) “immediately disburse RFE/RL’s April funding in the
         amount of $12,178,590.” Id. at *4, *10.
             USAGM appealed and sought a stay of the TRO.1 Because
         of imminent funding deadlines, both sides have requested
         expedited consideration of the stay motion.
                                          II
              To resolve the stay motion, we consider whether the
         government is likely to prevail on appeal, any irreparable harm
         to the government, harms to the plaintiffs and others, and the
         public interest. See Nken v. Holder, 556 U.S. 418, 425–26


             1
                 While TROs are ordinarily unappealable, that rule does not
         apply where the TRO functions as a de facto preliminary injunction
         by, for instance, ordering the immediate disbursement of funds that
         cannot later be recouped. See Dep’t of Educ. v. California, 145 S.Ct.
         966, 968 (2025) (citing Sampson v. Murray, 415 U.S. 61, 87 (1974)
         and Abbott v. Perez, 585 U.S. 579, 594 (2018)).
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                                        3
         (2009). Applying these factors, we conclude that a stay is
         warranted.
                                        A
              The government is likely to succeed on the merits of its
         challenges to both terms of the district court’s injunction.
                                        1
              The district court concluded that USAGM arbitrarily
         refused to enter into a one-month extension agreement to
         disburse a portion of RFE/RL’s appropriated funds at similar
         levels to those that “in the usual course of events” would have
         covered its needs for the month of April. RFE/RL, 2025 WL
         1232863, at *6–7. As a result, the court ordered the agency to
         enter into an agreement with the “same” terms contained in past
         agreements between USAGM and RFE/RL. Id. at *10. The
         district court had jurisdiction to consider whether the governing
         statutes required USAGM to form such an agreement. See,
         e.g., Boaz Housing Auth. v. United States, 994 F.3d 1359,
         1367–69 (Fed. Cir. 2021); Lummi Tribe v. United States, 870
         F.3d 1313, 1317–18 (Fed. Cir. 2017).
              On the merits, we think the government is likely to
         succeed. We assume arguendo that the parties’ failure to reach
         a new agreement reflected reviewable final agency action by
         USAGM, as opposed to the ebb-and-flow of ongoing contract
         negotiations. Even so, the district court had no basis for
         binding the agency to all of the terms contained in earlier grant
         agreements. The governing statute gives USAGM significant
         latitude to establish appropriate terms for grant agreements. It
         provides that grants to RFE/RL “shall only be made in
         compliance with a grant agreement,” and requires USAGM to
         “establish guidelines for such grants.” 22 U.S.C. § 6207(g). It
         also instructs USAGM to limit grant funding to “activities
         which the Agency determines are consistent” with the general
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                                        4
         statutory purpose to support international broadcasting. See id.
         §§ 6207(g)(1), 6201. And it permits USAGM to defund
         RFE/RL if the agency determines, “at any time,” that RFE/RL
         is not carrying out that purpose “in an effective and economical
         manner.” Id. § 6207(d). Given this degree of agency
         discretion, we think it unlikely that USAGM could be
         prohibited from seeking to renegotiate any terms in the grant
         agreement—a complex government contract reflected in some
         31 pages of fine print. See Grant Agreement Between the U.S.
         Agency for Global Media and RFE/RL, Inc., FAIN: 1060-24-
         GO-00001, RFE/RL, Inc. v. Lake, No. 25-cv-799 (D.D.C.),
         ECF Doc. 33-2, Ex. 1 at 2–34.
                                        2
              The district court further ordered USAGM to disburse
         funds under the terms of the contract extension that it had
         ordered. For reasons explained in a related case, we conclude
         that the court likely lacked jurisdiction to order the payment of
         funds owed under a grant agreement. Widakuswara v. Lake,
         No. 25-5144, 2025 WL 1288817, *3–5 (D.C. Cir. May 3,
         2025).
                                        B
              For substantially the same reasons discussed in
         Widakuswara, we also conclude that the remaining Nken
         factors on balance support a stay. See 2025 WL 1288817, *5–
         6.
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              PILLARD, Circuit Judge, dissenting: I would deny the
         government’s stay motion largely for the reasons stated in my
         statement dissenting from the order granting a stay pending
         appeal in the parallel cases brought by Radio Free Asia (RFA)
         and Middle East Broadcasting Networks (MBN), whose
         appropriated funds the government has also impounded. See
         Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, at *6-
         16 (D.C. Cir. May 3, 2025) (Pillard, J., dissenting). Here, as
         there, the Tucker Act does not deprive the district court of
         jurisdiction. And here, as there, the government has failed to
         show that it would suffer irreparable harm from waiting for a
         panel of this court to rule on its Tucker Act defense on a non-
         emergency basis. Finally, as in the companion cases, the public
         interest cuts strongly against staying the TRO ordering
         payment of Radio Free Europe/Radio Liberty’s (RFE/RL)
         April 2025 allotment, which is past due. The district court
         found, and the government does not dispute, that the Network
         is “on the brink of collapse.” RFE/RL, Inc. v. Lake, No. 1:25-
         CV-799-RCL, 2025 WL 1232863, at *3 (D.D.C. Apr. 29,
         2025) (Lamberth, J.). Congress itself has declared the
         continued operation of RFE/RL to be in the public interest, see
         22 U.S.C. § 6201(3), and the district court was not required to
         stand aside and allow the agency to shut it down.

              1. In Part I.B. of my statement in Widakuswara v. Lake, I
         explained why the government is unlikely to succeed on the
         merits of its assertion that the Tucker Act deprives the district
         court of jurisdiction over the Networks’ statutory and
         constitutional claims. All I would add is that RFE/RL’s
         slightly different circumstances underscore the fallacy at the
         heart of the government’s position and vividly illustrate why
         none of the Networks’ claims belong in the Court of Claims.
         Not only does RFE/RL’s complaint make no contract claim,
         but RFE/RL has no contract that it could be seeking to enforce
         “disguised” as something else. See Megapulse, Inc. v. Lewis,
         672 F.2d 959, 968 (D.C. Cir. 1982). The plaintiffs here and in
         the parallel RFA and MBN cases all challenge the
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                                        2
         government’s impoundment of funds that Congress
         appropriated for the explicit purpose of sustaining the
         Networks’ operations. Each Network’s claim of entitlement to
         funding originates not in a contractual agreement, but in
         binding congressional enactments establishing and funding the
         Networks, and constitutional restrictions preventing unilateral
         executive action to countermand what Congress and the
         President put in place.

            As Judge Lamberth succinctly explained in granting the
         TRO at issue here:

              The current Congress and President Trump enacted
              a law allocating funds to the plaintiffs. Under the
              Administrative Procedure Act, actors within the
              Executive Branch do not have carte blanche to
              unilaterally change course, withhold funds that the
              President and the Legislature jointly agreed to
              spend, and functionally dismantle an agency that the
              President and Legislature jointly agreed to support.
              If the Executive wishes to withhold or reallocate
              these funds, there is a statutory rescission process in
              place for them to seek the approval of Congress to
              do so. This process assures that the will of the
              people,     expressed      through     their elected
              representatives, is borne out. But the defendants
              have not followed that process here. As I see it, if
              the defendants are aggrieved by these decisions,
              their problem is not with the Court, but with
              Congress and the President, and it is with them that
              the defendants should seek redress.

         RFE/RL, Inc., 2025 WL 1232863, at *10.
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                                         3
              2.    For the reasons I already gave to reject the
         government’s claim of irreparable harm, see Widakuswara,
         2025 WL 1288817, at *15 (Pillard, J., dissenting), I add one
         further thought. The government urges that it is likely to
         succeed in establishing that the district court lacks jurisdiction
         over plaintiffs’ complaint because it belongs in the Court of
         Claims. But, in the absence of a showing of irreparable harm,
         we would wait to decide in the ordinary course whether the
         government prevails on that point. Only where there is the
         added ingredient of irreparable harm does the law consider the
         ordinary wait so untenable as to allow us to stay a likely-
         erroneous district court order. The harm asserted here,
         however, does not justify imposing a stay that provisionally
         decides the jurisdictional issue in the government’s favor
         pending resolution of the appeal—and watching the Network
         vanish in the meantime.

              The irreparable harm the government claims, which the
         panel credits, is only the imminent prospect of having to pay
         one month’s worth of past-due funds that Congress
         appropriated for RFE/RL’s operation during April. Yet the
         government does not even link that asserted harm to its claimed
         likelihood of success in shifting the case to the Court of Claims
         under the Tucker Act. The government gives us no reason to
         think it would be entitled in the Court of Claims to withhold
         the funds the district court required it to pay. That brings into
         sharp relief what the government is doing: It claims irreparable
         harm and obtains a stay by insisting the case likely belongs in
         the Court of Claims, not based on any reason to think that court
         can or will approve its impoundment of funds, but as a strategy
         to run down the clock, avoid complying with the existing TRO,
         and starve RFE/RL out of existence.

             3. The balance of the equities also disfavors the stay for
         reasons that parallel those I discussed in Widakuswara. 2025
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                                         4
         WL 1288817, at *14 (Pillard, J., dissenting). RFE/RL faces
         existential harm from our stay of the district court’s temporary
         restraining order. The Network relies on the government for
         99 percent of its funding. Fourth Capus Decl. ¶ 20. Because it
         has not received its funding, RFE/RL has been forced to steeply
         scale back its operations, including by furloughing more than
         400 employees, canceling contracts with “nearly all of its
         freelance journalists,” and canceling leases for several bureaus.
         See id. ¶¶ 21, 26. It has been unable to make lease payments
         for its offices, including payments for 24 locations that were
         due on May 1. See id. ¶ 25. Without the restoration of its
         funding, RFE/RL will be unable to pay for security services for
         its journalists, staff, and facilities—often located in “countries
         where RFE/RL journalists have been targeted for attack by
         terrorist organizations, criminal elements, and governments
         that are hostile to RFE/RL’s reporting.” Compl. ¶ 43. The
         factual record is undisputed that RFE/RL “will have no choice
         but to close down the vast majority of the organization” this
         month if its funding is not released. Fourth Capus Decl. ¶ 28.

              4. Finally, my colleagues conclude that the district court
         overstepped when it ordered the agency to make the overdue
         April payment to the Network under a one-month agreement
         with the “same” terms contained in past agreements between
         USAGM and RFE/RL. RFE/RL, Inc., 2025 WL 1232863, at
         *10. But the per curiam stay order omits the crucial context
         that makes clear why that TRO was entirely appropriate.

             USAGM and RFE/RL had used essentially the same
         annual Master Grant Agreement since 2011 to facilitate the
         disbursement of funds, negotiating a few minor changes over a
         couple of weeks before the start of each new fiscal year. Id. at
         *1; Fourth Capus Decl. ¶ 2. In mid-February 2025, USAGM
         proposed a slightly amended version of the Master Grant
         Agreement for FY 2025, the parties negotiated for a week,
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         USAGM sent a final version on February 27 for RFE/RL’s
         approval, and the Network promptly signed and returned it.
         RFE/RL, Inc., 2025 WL 1232863, at *2. USAGM then sat on
         the agreement without countersigning it, withheld the
         Network’s funds, and was unresponsive to its queries. Id.;
         RFE/RL Opp’n at 9-10. On March 15, USAGM sent RFE/RL
         a letter abruptly terminating its grant entirely. RFE/RL, Inc.,
         2025 WL 1232863, at *3.

              After RFE/RL filed suit on March 18 and requested a TRO
         to disburse its funds, the agency acted just before the court
         hearing to release the Network’s funds for the first half of
         March. Id. “In the normal course, RFE/RL receives its funding
         at the beginning of each month.” Fourth Capus Decl. ¶ 19.
         When RFE/RL sent another funding request at the end of
         March to cover the rest of March and all of April, however, the
         agency sent a short grant agreement “incorporating the terms
         and conditions of the FY Grant Agreement” to cover funding
         only for March 15-31. RFE/RL, Inc., 2025 WL 1232863, at *3.
         The Network signed the agreement and on April 8 received the
         balance of the March funds, but none for April. Id.

              Then, on April 9, the agency refused to renew the
         Network’s Master Grant Agreement unless it agreed to a
         “radically different grant agreement” from the one already
         negotiated and signed by RFE/RL at the agency’s request. Id.
         at *7. The agency’s new version contained “provisions to
         which [the Network] cannot lawfully or practically assent.” Id.
         at *6-7. Indeed, the long list of new and extraordinary terms in
         the newly proposed Master Grant Agreement suggests that it
         would not secure the Network’s funds but effectively sign
         away any right to them. See, e.g., Fourth Capus Decl. ¶¶ 4, 6,
         9, 10. Even so, the court initially refrained from granting the
         plaintiffs’ request for a TRO “because negotiations over the
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                                        6
         new grant agreement were still ostensibly underway.”
         RFE/RL, Inc., 2025 WL 1232863, at *3.

              By the end of April, however, the district court found that
         the agency’s persistent and “unexplained refusal” to enter into
         a one-month extension of the prior grant agreement suggested
         that the “defendants are trying to strongarm [the Network] into
         signing their latest version of the Master Grant Agreement.” Id.
         at *6-7. The court concluded that the agency’s “stonewalling”
         put the Network “up against the clock as its funding quickly
         runs out,” threatening a “complete gutting of [the Network’s]
         infrastructure.” Id. at *6-8. To prevent that outcome, the
         district court ordered the agency to agree to provide the
         Network with its April funding—which the agency had already
         delayed by a month, id. at *3—under a “mini agreement” or
         “bridge agreement” extending the terms of the previous grant
         agreement to enable payment for an additional month. Id. at
         *4, *7.

              Under these circumstances, I cannot agree with my
         colleagues that the district court lacked any “basis for binding
         the agency to all of the terms contained in earlier grant
         agreements.” Stay Op. at 3. The justification was clear and
         amply supported the district court’s grant of incremental and
         limited relief. The court was not required to stand by and allow
         the government to continue to withhold the appropriated funds
         “until the [Network] is forced out of existence.” RFE/RL, Inc.,
         2025 WL 1232863, at *6 & n.5.

                                      ***

             The district court acted within its sound discretion to enter
         a TRO permitting the disbursement of RFE/RL’s April
         funding. Because the government has not made the requisite
         showings to support a stay and the harm to RFE/RL is
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                                        7
         existential, I respectfully dissent from the panel’s decision to
         grant the stay pending appeal.
